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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

  AMAZON.COM, INC. and AMAZON
  DATA SERVICES, INC.,
                Plaintiffs,
        v.
  WDC HOLDINGS LLC dba NORTHSTAR
  COMMERCIAL PARTNERS; BRIAN
  WATSON; STERLING NCP FF, LLC;
  MANASSAS NCP FF, LLC; NSIPI
  ADMINISTRATIVE MANAGER; NOVA
  WPC LLC; WHITE PEAKS CAPITAL LLC;
  VILLANOVA TRUST; CARLETON
  NELSON; CASEY KIRSCHNER;
  ALLCORE DEVELOPMENT LLC;
  FINBRIT HOLDINGS LLC; CHESHIRE                   CASE NO. 1:20-CV-484-RDA-TCB
  VENTURES LLC; 2010 IRREVOCABLE
  TRUST; SIGMA REGENERATIVE
  SOLUTIONS LLC; CTBSRM, INC.;
  RODNEY ATHERTON; DEMETRIUS VON
  LACEY; RENRETS LLC,
                Defendants.

  800 HOYT LLC,
                Intervening Interpleader
                Plaintiff, Intervening
                Interpleader Counter-
                Defendant,
        v.
  BRIAN WATSON; WDC HOLDINGS, LLC;
  BW HOLDINGS, LLC,
                Interpleader Defendants,
        and
  AMAZON.COM, INC., and AMAZON
  DATA SERVICES, INC.,
            Interpleader Defendants,
            Interpleader Counter-Plaintiffs.

                 PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR A
             PROTECTIVE ORDER PROHIBITING RULE 30(b)(6) DEPOSITION



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         Amazon does not seek to “evade” Rule 30(b)(6) testimony. Opp. 1. It has repeatedly

  committed to providing such testimony, and is eager to the finalize topics on which it will designate

  and prepare its corporate witnesses. But Defendants made it impossible to do that in time for

  depositions this week, because they demand testimony on 130 topics they noticed on August 3 for

  examinations on August 10 and 11. Amazon’s motion for a protective order, Dkt. 901, is solely

  about rescheduling these depositions until the parties complete the conferral process required by

  Rule 30 as amended. See Fed. R. Civ. P. 30(b)(6). Typically, “[r]escheduling depositions is . . . a

  matter of common professional courtesy.” Moses Enters., LLC v. Lexington Ins. Co., No. 3:19-

  CV-00477, 2021 WL 329210, at *5 (S.D.W. Va. Feb. 1, 2021), aff’d, 2021 WL 5415334 (S.D.W.

  Va. Apr. 13, 2021). Here, however, Defendants refused to withdraw the notices for August 10 and

  11 even though the parties agreed—after a five-hour conference on approximately 70 topics on

  August 4—that additional discussions would be necessary. For the reasons discussed below and

  in Amazon’s motion, see Dkt. 901, Amazon respectfully requests that the Court grant protective

  relief on the outstanding notices, order Defendants to agree on a reasonable subset of topics

  Amazon could prepare for testimony later this month, and order Defendants to resolve (by

  agreement or otherwise) Amazon’s objections to any remaining topics in time to allow Amazon to

  designate and prepare a witness for additional testimony on a mutually agreed date in September.

                                            ARGUMENT

         A protective order is appropriate here because Defendants demanded testimony on an

  excessive number of topics and also unreasonably delayed in notifying Amazon of what those

  topics are, despite Amazon’s repeated requests for notice of the topics and warnings that delay

  would impede it from being able to prepare and testify in mid-August. See Dkt. 901; Dkt. 902-3.

  Defendants noticed the August 10 and 11 depositions on August 3—less than 24 hours after




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  receiving Amazon’s timely objections to the 130 topics—which Amazon promptly asked to

  discuss as Rule 30 and Local Rule 7 require. Dkt. 902-6, at 8–9, 14–15. As of the filing of this

  motion on August 5, the parties were (and still remain) in ongoing negotiations about the scope of

  Defendants’ 130 noticed topics and potential alternative deposition dates. See id. at 1–9. Indeed,

  during a telephone conference on August 4 that lasted more than five hours, Defendants agreed to

  narrow various portions of approximately 70 topics on which Amazon offered to prepare corporate

  designees. Id. The parties agreed that these modifications, as well as the remaining 60 facially

  objectionable topics, would require further discussion. Id. The conferral process has been

  productive. This week Defendants withdrew some of their objectionable topics, and narrowed

  others. To facilitate resolution of these and other objections on over 60 topics, Amazon agreed to

  find mutually acceptable new dates for testimony on the revised topics, and asked Defendants to

  withdraw the current notices and propose a subset of topics on which Amazon could potentially

  identify and prepare a witness for testimony this month. Id. at 8–9. Defendants refused to do

  either of these things, needlessly forcing Amazon to seek a protective order on the August 10 and

  11 dates that were no longer feasible due to Defendants’ sweeping demands and unexcused delay.

  See Dkt. 901.

         Defendants’ response is replete with misrepresentations. Defendants complain about the

  “sheer scope” of Amazon’s objections. Opp. 2. But this is simply a function of the “sheer scope”

  of Defendants’ 130 noticed topics. Dkt. 902-4. Far from “playing the game of asserting as many

  objections as possible,” Opp. 8, Amazon has been attempting to narrow Defendants’ improper and

  unwieldy set of topics to issues that are actually relevant to the claims and defenses in this case,

  and on which it is possible to prepare a corporate designees to provide informed testimony.

  Defendants’ topics have needlessly complicated and subverted this process. Even the topics that




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  are not facially irrelevant or otherwise entirely improper are extremely burdensome, and request

  corporate testimony on the details of voluminous discovery responses and broad swaths of

  Amazon’s business involving countless transactions that are not at issue in this suit. See, e.g., Dkt.

  902-4 (topics 4, 19, 45–47, 51, 54, 55, 105). Preparing a designee for even a fraction of such

  testimony would not be a matter of “minor inconveniences to an employee for a day.” Opp. 9. It

  would require extensive time and preparation even on a reasonable number of proper topics. These

  logistical constraints are especially challenging here because, as Amazon repeatedly advised

  Defendants, the proposed designee who is traveling in the latter part of August is a high-level

  executive who has extensive obligations relating to multiple areas of Amazon’s business. Dkt.

  902-4, at 17–18.

         Defendants’ assertion that Amazon has refused to agree to alternate dates for this

  testimony, Opp. 3, is another red herring. Amazon proposed dates in September, and repeatedly

  told Defendants it would be amenable to dates later this month if they would agree on a reasonable

  set of topics. But instead of doing that, they forced motions practice by refusing to withdraw the

  notices for August 10 and 11 even though those dates were plainly not feasible. Dkt. 902-4.

  Defendants stress that it was Amazon that offered August 10 and 11 in the first place. Opp. 6. But

  they neglect to mention that Amazon did so only on the condition, expressly grounded in the latest

  amendments to Rule 30, that Defendants serve by mid-July a reasonable and consolidated list of

  topics, Dkt. 902-4, at 2–5, that would leave “sufficient time to meet and confer and for Amazon to

  prepare the necessary witnesses.” Dkt. 902-3, at 4–5.1



  1
   After Defendants served their 130 topics, Amazon timely objected, conferred within 24 hours on
  approximately 70 topics, and did not “ignore[]” Defendants’ “offers” to meet and confer on the 50
  additional topics to which Amazon objected as entirely improper for Rule 30(b) testimony. Opp.
  7. As Defendants admit, Amazon offered to have a call about these topics. Opp. 8 (citing Dkt.
  909-1). It is Defendants who declined this call and demanded that negotiations on those topics be

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         Rule 30 was amended in 2015 and again in 2020 to focus on “proportionality,” and to

  require parties to confer “to clarify and focus the matters for examination” as necessary to “enable

  the [testifying] organization to designate and to prepare an appropriate witness or witnesses.” Fed.

  R. Civ. P. 30, Cmts. These amendments were adopted to “avoid later disagreements” on “overlong

  or ambiguously worded lists of matters for examination and inadequately prepared witnesses.” Id.

  These amendments foreclose Defendants’ complaints about the conferral process, which simply

  reflect frustration about the time it takes to confer and narrow the 130 objectionable topics they

  chose to serve.2 That is a problem of their own making.3

         Nonetheless, Amazon remains committed to solving it by identifying an agreed subset of

  topics on which it could designate and prepare a witness this month, and providing dates in

  September for additional testimony after the parties have agreed upon or otherwise resolved

  additional topics subject to outstanding objections. Accordingly, Amazon respectfully requests

  that the Court grant protective relief on the outstanding notices, order Defendants to agree on a

  reasonable subset of topics for testimony later this month, and order them to resolve (by agreement




  conducted in writing. Dkt. 909-1, at 1–2. Defendants have now withdrawn or narrowed some of
  those topics, but the remainder are still objectionable on grounds Amazon has offered to discuss.
  2
    Defendants’ brief fails to mention that the 150 topics they purportedly “narrowed” to 130 actually
  contained more than three dozen identical requests. See, e.g., Dkt. 909-2 (Topic 40), with Dkt.
  909-3 (Topic 24). Accordingly, Defendants’ current “consolidated” list of topics actually includes
  more topics than the original (objectionable) set. Defendants’ suggestion that Amazon should
  have anticipated all of these topics based on the prior 150 directed at an earlier complaint, Opp. 4–
  5, is unsupported and illogical. Defendants promised Amazon in June that they would provide a
  narrower and consolidated set of topics addressed to the current (Third Amended) complaint. They
  could and should have done that by mid-July as agreed so the parties could resolve objections and
  identify a final list of topics for which Amazon could designate and specifically prepare corporate
  witnesses.
  3
   The remainder of Defendants’ arguments, Opp. 1-2, have nothing to do with Rule 30 or the
  deposition dates and topics in Amazon’s motion. The reprise objections to the Court’s rulings on
  deposition notices for individual testimony the Court found improper. Dkt. 577.


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  or otherwise) Amazon’s objections to remaining topics in time to allow Amazon to designate and

  prepare a witness for additional testimony on a mutually agreed date in September. See HP Tuners,

  LLC v. Sykes-Bonnett, 2019 WL 9828399, at *1 (W.D. Wash. Apr. 11, 2019) (granting protective

  order in similar circumstance); Seabrook Med. Sys. Inc. v. Baxter Healthcare, 164 F.R.D. 232, 233

  (S.D. Ohio 1995) (same).

                                          CONCLUSION

         For the reasons discussed below and in Amazon’s motion, the Court should grant this

  motion.



   Dated: August 11, 2022                      Respectfully submitted,
                                               /s/ Michael R. Dziuban
                                               Elizabeth P. Papez (pro hac vice)
   Veronica S. Moyé (pro hac vice)
                                               Patrick F. Stokes (pro hac vice)
   GIBSON, DUNN & CRUTCHER LLP
                                               Jason J. Mendro (pro hac vice)
   2001 Ross Avenue, Suite 2100
                                               Claudia M. Barrett (pro hac vice)
   Dallas, TX 75201
                                               David W. Casazza (pro hac vice)
   Telephone: (214) 698-3100
                                               Amanda Sterling (pro hac vice)
   Facsimile: (214) 571-2900
                                               Michael R. Dziuban (Va. State Bar No. 89136)
   vmoye@gibsondunn.com
                                               GIBSON, DUNN & CRUTCHER LLP
                                               1050 Connecticut Avenue, N.W.
                                               Washington, D.C. 20036-5306
                                               Telephone: (202) 955-8500
                                               Facsimile: (202) 467-0539
                                               epapez@gibsondunn.com
                                               pstokes@gibsondunn.com
                                               jmendro@gibsondunn.com
                                               cbarrett@gibsondunn.com
                                               dcasazza@gibsondunn.com
                                               asterling@gibsondunn.com
                                               mdziuban@gibsondunn.com
              Counsel for Plaintiffs Amazon.com, Inc. and Amazon Data Services, Inc.




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on August 11, 2022, I electronically filed the foregoing with the Clerk

  of Court using the CM/ECF system. I will then send the document and a notification of such filing

  (NEF) to the following parties via U.S. mail to their last-known address and by email, where noted:



  CTBSRM, Inc.                                        Casey Kirschner
  6870 W 52nd Ave., Ste. 203                          635 N. Alvarado Lane
  Arvada, CO 80002                                    Plymouth, MN 55447
                                                      By email: casey.kirschner@gmail.com
  Demetrius Von Lacey
  2845 Des Moines Dr.,                                2010 Irrevocable Trust
  Fort Collins, CO 80525                              6870 W 52nd Ave., Ste. 203
                                                      Arvada, CO 80002

                                                      Sigma Regenerative Solutions, LLC
                                                      6870 W 52nd Ave., Ste. 203
                                                      Arvada, CO 80002


                                               s/ Michael R. Dziuban
                                               Michael R. Dziuban
                                               GIBSON, DUNN & CRUTCHER LLP
                                               1050 Connecticut Avenue, N.W.
                                               Washington, D.C. 20036-5306
                                               Telephone: (202) 955-8500
                                               Facsimile: (202) 467-0539
                                               mdziuban@gibsondunn.com

                                               Counsel for Plaintiffs Amazon.com, Inc. and
                                               Amazon Data Services, Inc.




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